Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 1 of 15 PageID #: 60590




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------x
  CERTAIN UNDERWRITERS AT
  LLOYD’S, LONDON; ACCIDENT &
  CASUALTY CO.; ACCIDENT
  & CASUALTY INSURANCE
  COMPANY OF WINTERTHUR;
  ACCIDENT & CASUALTY
  INSURANCE COMPANY OF
  WINTERTHUR (NO. 2A/C);
  ACCIDENT & CASUALTY
  INSURANCE COMPANY OF
  WINTERTHUR (NO. 3 A/C);
  AEGON NV FORMERLY AGO
  SCHADEVEZEKERING
  MAATSCHAPPIJ NV; AG DE 1830                        MEMORANDUM AND ORDER
  COMPAGNIE BELGE                                    Case No. 14-CV-4717-FB-RLM
  D’ASSURANCES GENERALES
  INCENDIE ACCIDENTS ET
  RISQUES DIVERS SA; AMERICAN
  HOME INSURANCE COMPANY;
  AMSTERDAM - LONDON
  VERZEKERING MAATSCHAPPIJ
  NV; ANCON INSURANCE
  COMPANY (UK) LIMITED;
  ARGONAUT NORTHWEST
  INSURANCE COMPANY;
  ASSICURAZIONI GENERALI SPA
  (UK BRANCH); BISHOPSGATE
  INSURANCE COMPANY LIMITED;
  BRITAMCO POOL; CNA
  REINSURANCE COMPANY; CNA
  REINSURANCE COMPANY
  LIMITED; CORNHILL INSURANCE
  COMPANY LIMITED; CREDIT DE
  NAMUR; DELTA-LLOYD NON-LIFE
  INSURANCE COMPANY LIMITED;
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 2 of 15 PageID #: 60591




  DELTA-LLOYD SCHADEVER-
  ZEKERING NV; DILIGENTIA;
  EUROPEESCHE VERZEKERING
  MAATSCHAPPIJ NV; EXCESS
  INSURANCE COMPANY LIMITED;
  GRESHAM FIRE & ACCIDENT
  INSURANCE SOCIETY LIMITED;
  GRESHAM INSURANCE SOCIETY
  LIMITED; HELVETIA-ACCIDENT
  SWISS INSURANCE COMPANY (AS
  PART OF GIBBON “E” GROUP);
  HARPER INSURANCE LTD F/K/A/
  TUREGUM INS CO.; INSTITUTO DE
  REASSEGUROS DO BRASIL (IRG) -
  LONDON BRANCH; INTERLLOYD
  VERZEKERING MAASTSCHAPPIJ
  NV; KONING & BOEKE VAN 1819;
  LA BELGIQUE; L’ASSICURAZIONI
  D’ITALIA; LE ASSICURAZIONI
  D’ITALIA SPA; LES ASSURANCES
  GENERALES DE FRANCE; LES
  PROPRIETAIRES REUNIS S.A. D.
  ASSURANCES I.A.R.D.; L’ETOILE;
  LONDON & EDINBURGH GENERAL
  INSURANCE COMPANY, LONDON
  AND EDINBURGH GENERAL
  INSURANCE COMPANY LIMITED;
  MAAS LLOYD NV SCHADEVER-
  ZEKERINGSMAATSCHAPPIJ;
  MERCATOR ALGEMENE VER-
  ZEKERINGS MAATSCHAPPIJ NV;
  N.V. ROTTERDAMSE ASSURAN-
  TIEKAS, N.V. VERZ MIJ DE
  NOODERN; NAMUR ASSURANCES
  DU CREDIT; NATIONAL
  CASUALTY COMPANY; NATIONAL
  CASUALTY COMPANY OF
  AMERICA LIMITED;


                                        2
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 3 of 15 PageID #: 60592




  NISSAN FIRE & MARINE
  INSURANCE COMPANY;
  NOORHOLLAND BRANDW;
  NORWICH UNION FIRE
  INSURANCE SOCIETY LIMITED;
  PROVIDENTIAL INSURANCE
  COMPANY; RHEINLAND
  VERSICHERUNGS AG; ROYAL
  NEDERLAND SCHADEVER-
  ZEKERING NV; ROYALE BELGE
  SA; ROYALE BELGE INCENDIE
  REASSURANCE S.A.; SIMCOE &
  ERIE GENERAL INSURANCE
  COMPANY; ST KATHERINE
  INSURANCE COMPANY PLC;
  TAISHO MARINE & FIRE
  INSURANCE COMPANY LIMITED;
  TERRA NOVA INSURANCE
  COMPANY; THE SUMITOMO
  MARINE AND FIRE INSURANCE
  COMPANY LIMITED; UNION
  AMERICA INSURANCE COMPANY
  LIMITED; WINTERTHUR SWISS
  INSURANCE COMPANY;
  WURTTEMBERGISCH
  FEUERVERSICHERRUNG AG;
  YASUDA FIRE & MARINE
  INSURANCE COMPANY (UK)
  LIMITED,

                    Plaintiffs,

        -against-

  NATIONAL RAILROAD
  PASSENGER CORPORATION;
  ALLIANZ INSURANCE COMPANY;

  ALLSTATE INSURANCE                        COMPANY; AMERICAN HOME

                                        3
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 4 of 15 PageID #: 60593




  ASSURANCE COMPANY;
  AMERICAN INSURANCE
  COMPANY; AMERICAN
  REINSURANCE COMPANY;
  ARGONAUT INSURANCE
  COMPANY; ASSUBEL ACCIDENTS
  ET DOMMAGES SA; ASTRA S.A.
  INSURANCE AND REINSURANCE
  COMPANY AS SUCCESSOR TO
  ADAS STATE INSURANCE
  INSTITUTE; ATLANTICA
  INSURANCE COMPANY; BANCO
  DE SEGUROS DEL ESTADO;
  BANDEIRANTE; BELLEFONTE
  INSURANCE COMPANY (US);
  BISON INSURANCE COMPANY
  LIMITED; BRITTANY INSURANCE
  COMPANY LIMITED; CALIFORNIA
  UNION INSURANCE COMPANY;
  CIGNA; COMPAGNIE BELGE
  D’ASSURANCES CREDIT S.A.;
  COMPANHIA DE SEGUROS
  IMPERIO; COMPANIA DE SEGUROS
  LA REPUBLICA S.A.;
  CONTINENTAL INSURANCE
  COMPANY AS SUCCESSOR IN
  INTEREST TO HARBOR
  INSURANCE COMPANY AND
  PACIFIC INSURANCE COMPANY;
  THE DOMINION INSURANCE
  COMPANY LIMITED; EURINCO
  ALLGEMEINE VERSICHERUNGS
  AKTIENGESELLSCHAFT;
  EVANSTON INSURANCE
  COMPANY; FIRST STATE
  INSURANCE COMPANY;

  FIREMAN’S FUND INSURANCE                  COMPANY; GESB-GRUPO


                                        4
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 5 of 15 PageID #: 60594




  EMPRESAS SEGURADORAS;
  GRANITE STATE INSURANCE
  COMPANY; THE HARTFORD
  ACCIDENT AND INDEMNITY
  COMPANY; HASSNEH INSURANCE
  COMPANY OF ISRAEL LIMITED;
  INSTITUTO NACIONALI DE
  REASEGUROS; INSURANCE
  COMPANY OF NORTH AMERICA;
  INSURANCE COMPANY OF THE
  STATE OF PENNSYLVANIA;
  INTERSTATE REINSURANCE
  CORPORATION; INTERNATIONAL
  SURPLUS LINES INSURANCE
  COMPANY; KOREAN
  REINSURANCE COMPANY;
  LANDMARK INSURANCE
  COMPANY; LEXINGTON
  INSURANCE COMPANY;
  NATIONAL MUTUAL INSURANCE
  COMPANY; NATIONAL UNION
  FIRE INSURANCE COMPANY OF
  PITTSBURGH, PENNSYLVANIA;
  NORTHBROOK INSURANCE
  COMPANY; THE PEOPLE’S
  INSURANCE COMPANY OF CHINA;
  RAILROAD ASSOCIATION
  INSURANCE LIMITED;
  REAFIANZADORA Y
  REASEGURADORA DE AMERICA;
  ROBERTO FEVRE; SHAND
  MORAHAN & CO.; STRONGHOLD
  INSURANCE COMPANY LIMITED;
  VERA CRUZ INSURANCE
  COMPANY; WAUSAU
  INTERNATIONAL

  UNDERWRITERS;                             YOSEMITE INSURANCE


                                        5
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 6 of 15 PageID #: 60595




  COMPANY; and DOES 1-40,

                         Defendants.
  -----------------------------------------------x

  BLOCK, Senior District Judge:

         Having previously addressed the parties’ lengthy motions for summary

  judgment and presided over a ten-day trial, the Court’s current goal is to bring the

  first stage of this extraordinarily contentious case to a close. To that end, the Court

  solicited the parties’ views as to how to proceed. Although those views predictably

  diverged, the parties apparently agree that rulings from the Court on two related

  issues of law will assist them in their settlement discussions.

         The Court has consistently urged the parties to work toward a negotiated

  resolution. In any event, molding the jury’s verdict into a judgment would require

  the Court to resolve the same issues. Therefore, the requested rulings follow.

                                                     I

         Addressing the parties’ motions for summary judgment, the Court adopted a

  “pro rata” approach to the allocation of total loss across multiple policies: “[T]he

  Court will ask the jury to determine the total amount of covered damage and

  apportion that amount across triggered policies based on the time each policy was

  in effect, as a percentage of the total time over which covered damage occurred.”

  Certain Underwriters v. Nat’l R.R. Passenger Corp., 2017 WL 3575242, at *7


                                                     6
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 7 of 15 PageID #: 60596




  (E.D.N.Y. Aug. 17, 2017). It further held that “Amtrak's SIRs [self-insured

  retentions] will be included in the apportionment.” Id. (citing Mayor & City

  Council of Baltimore v. Utica Mut. Ins. Co., 802 A.2d 1070, 1101-02 (Md. Ct.

  Spec. App. 2002)). The jury subsequently found that Amtrak incurred $14.3

  million in costs to remediate third-party property damage occurring between 1972

  and 1986.

                                           II

        There is no dispute as to the amount of Amtrak’s SIRs. Amtrak had an SIR

  of $1 million between 1972 and 1974, SIRs of $2 million between 1974 and 1985,

  and an SIR of $5 million between 1985 and 1986. However, the parties advocate

  different ways of applying the Court’s allocation ruling.

        The LMI say that the Court should prorate the jury’s award over 14 years,

  for an allocated loss of $1.02 million per year. The Court should then subtract

  Amtrak’s total SIR for each policy period. $2.04 million would be allocated to the

  first policy period, which ran from 1972 to 1974. Subtracting Amtrak’s $1 million

  SIR for that period would trigger the $1 million primary layer of coverage and

  $40,000 of the first layer of excess coverage. $3.06 million would be allocated to

  the second policy period, which ran from 1974 to 1977. Subtracting Amtrak’s $2

  million SIR for that period would trigger $1.06 million of the primary layer of

  coverage. Amtrak’s SIR in each remaining policy period exceeded the allocated
                                           7
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 8 of 15 PageID #: 60597




  loss, triggering no coverage. The net result would be a judgment of roughly $2.1

  million in Amtrak’s favor.

        Amtrak, meanwhile, says the period of proration should be only 13 years, for

  an allocated loss of $1.1 million per year. In addition, it argues that the Court

  should prorate both the jury’s award and its SIRs. Finally, it argues that the two-

  year policy in effect from 1972 to 1974 and the three-year policy in effect from

  1974 to 1977 should be treated as multiple, single-year policies with multiple

  policy limits and SIRs. The result would be covered losses of $1.023 million per

  year for two years, and of $946,000 per year for 11 years, for a total judgment of

  roughly $12.45 million.

        Thus, the parties dispute (A) the period of proration, (B) the inclusion of

  Amtrak’s SIRs in the proration, and (C) the effect of multi-year policy periods.

  The Court defers consideration of the third issue because the LMI have not yet

  responded to Amtrak’s argument, which, in any event, is too cursory to allow the

  Court to make an informed ruling. The other two issues are addressed in turn.

  A. Period of Proration

        In its prior decision, the Court stated that it would ask the jury to determine

  “the total time over which covered damage occurred.” Certain Underwriters, 2017

  WL 3575242, at *7. The jury determined that period to be 14 years.

  Amtrak persuasively argues, however, that the 1985-1986 policy year should be
                                            8
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 9 of 15 PageID #: 60598




  excluded from the denominator because those policies contain absolute pollution

  exclusions. Courts in both New York and Maryland have held that pro rata

  apportionment should not include periods when coverage is not available.

        In Stonewall Insurance Co. v. Asbestos Claims Management Corp., 73 F.3d

  1178 (2d Cir. 1995), the district court reasoned that the insured’s acceptance of an

  asbestos exclusion was akin to a decision not to obtain coverage. See id. at 1203.

  The Second Circuit disagreed, holding that the insured was required only “to

  accept a proportionate share of a risk that it elected to assume.” Id. at 1204

  (emphasis added). Citing Stonewall, the Maryland Court of Special Appeals held

  that “losses will be prorated to the insured, unless a gap in coverage is due to the

  insured's inability to obtain insurance.” Mayor & City Council of Baltimore, 802

  A.2d at 1104.

        The Court has previously explained why decisions from New York and

  Maryland deserve special consideration in this case. See Certain Underwriters,

  2017 WL 3575242, at *1, *3. Since the pollution exclusions in the 1985-1986

  policies do not reflect a voluntary election by Amtrak to forego coverage, that

  policy year will be excluded from the period of proration; the jury’s damages

  calculation will instead be prorated over the 13-year period from 1972 to 1985.




                                            9
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 10 of 15 PageID #: 60599




   B. SIRs

         “In Amtrak's view, 1/13th of the [self insured] retention applies in each year,

   just as 1/13th of the loss applies in each year.” Letter from Rhonda D. Orin (Dec.

   22, 2017) 2. But that is a false comparison. The proper comparison is between an

   SIR and an insurance policy. See Stonewall Ins. Co., 73 F.3d at 1204 (adopting

   apportionment that “better comports with the principle of treating [the insured] as a

   self-insurer for the one year when insurance was available.”). A $1 million dollar

   policy provides that amount of coverage for a particular period (typically one year)

   of the damages period, not the entire period. Similarly, a $1 million SIR for a

   particular year represents a decision by the insured to bear that amount of loss for

   that year. Therefore, Amtrak’s per-year SIRs will not be apportioned.

                                              III

         Apportioned over 13 years, the jury’s finding of total covered damage is

   $1.1 million per year. Amtrak’s total SIR for each year will be applied to that

   amount.

         Although the Court takes seriously the representation that those rulings will

   assist the parties in their settlement negotiations, it must still proceed with the

   litigation. Having considered the parties’ input, it adheres to its own previously

   expressed view that prompt appellate review of its rulings of law during the first

   stage of the litigation—in particular, its holding that total loss would be
                                              10
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 11 of 15 PageID #: 60600




   apportioned across all triggered policies and Amtrak’s SIRs—is of paramount

   importance because those same rulings will apply to the remaining stages. It

   would waste considerable time, money and effort to litigate the remaining

   environmental damage claims at two other sites—as well as the bodily injury

   claims—based on the Court’s rulings, only to have the Second Circuit determine

   on appeal of a judgment resolving all claims that one or more of those rulings was

   incorrect.

         The Court initially raised the possibility of certification pursuant to 28

   U.S.C. § 1292(b), which authorizes an interlocutory appeal when a district court is

   “of the opinion that [its] order involves a controlling question of law as to which

   there is substantial ground for difference of opinion and that an immediate appeal

   from the order may materially advance the ultimate termination of the litigation.”

   However, “[t]he district court’s order, not the certified question, is brought before

   the court on a § 1292(b) appeal.” J.S. ex rel. N.S. v. Attica Cent. Schs., 386 F.3d

   107, 115 (2d Cir. 2004) (quoting Moore v. Liberty Nat’l Life Ins. Co., 267 F.3d

   1209, 1219-20 (11th Cir. 2001)). Thus, the central idea of a § 1292(b) appeal is

   that a different resolution of the controlling issue would lead to a different order.

   See, e.g., SEC v. Credit Bancorp, Ltd., 103 F. Supp. 2d 223, 227 (S.D.N.Y. 2000)

   (“In determining whether a controlling question of law exists the district court

   should consider whether: reversal of the district court’s opinion could result in
                                             11
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 12 of 15 PageID #: 60601




   dismissal of the action; reversal of the district court’s opinion, even though not

   resulting in dismissal, could significantly affect the conduct of the action, or; the

   certified issue has precedential value for a large number of cases.”).

          The Court’s rulings are embodied in a memorandum and order denying, with

   one exception, various motions for summary judgment.1 Although those rulings

   later played a key part in the jury instructions and the Court’s current effort to

   apply the jury’s verdict, none of them was “controlling” in the sense that a

   different conclusion would have led the Court to grant the motions. In addition,

   while the rulings have continuing application in the litigation, the order itself has

   no further impact in light of the trial. Since an immediate appeal cannot forestall a

   trial that has already taken place, the Court is not inclined to make the necessary

   certification.

          Federal Rule of Civil Procedure 54(b) provides another avenue for early

   appellate review:

          When an action presents more than one claim for relief . . . or when
          multiple parties are involved, the court may direct entry of a final
          judgment as to one or more, but fewer than all, claims or parties only
          if the court expressly determines that there is no just reason for delay.


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          The Court granted, in part, the motion of four excess insurers, dismissing
   Amtrak’s breach of contract claims against them on the ground that “there is no
   reasonable prospect that Amtrak's damages would reach the necessary limits” on
   those insurers’ policies. Certain Underwriters v. Nat’l R.R. Passenger Corp., 2017
   WL 4221066, at *3 (E.D.N.Y. Sept. 21, 2017).
                                           12
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 13 of 15 PageID #: 60602




   “Rule 54(b) permits certification of a final judgment where (1) there are multiple

   claims or parties, (2) at least one of the claims or the rights and liabilities of at least

   one party has been finally determined, and (3) ‘there is no just reason for delay.’”

   Grand River Enters. Six Nations, Ltd. v. Pryor, 425 F.3d 158, 164-65 (2d Cir.

   2005) (quoting the rule).

          Resolution of stage one—that is, coverage for property damage at Sunnyside

   Yards—will satisfy the first requirement for certification. The Second Circuit

   defines a “claim” as “the aggregate of operative facts which give rise to a right

   enforceable in the courts.” Gottesman v. Gen. Motors Corp., 401 F.2d 510, 512

   (2d Cir. 1968). A case presents multiple claims when each claim relies on

   “separate and distinct” operative facts. Hudson River Sloop Clearwater, Inc. v.

   Dep’t of Navy, 891 F.2d 414, 418 (2d Cir. 1989). Therefore, “the existence of

   multiple claims turns on ‘whether the underlying factual bases for recovery state a

   number of different claims which could have been separately enforced.’” Acumen

   Re Mgmt. Corp. v. Gen. Sec. Nat’l Ins. Co., 769 F.3d 135, 141 (2d Cir. 2014)

   (quoting Rieser v. Baltimore & Ohio R.R., 224 F.2d 198, 199 (2d Cir. 1955)).

   Though the policies at issue are the same, coverage for property damage at other

   sites and for bodily injuries will present separate and distinct sets of operative facts

   as to, among other things, the cause and extent of the damage. Moreover, while the

   decision to litigate coverage for different types of damages at different sites in a
                                               13
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 14 of 15 PageID #: 60603




   single case was reasonable, a claim of coverage for a particular type of damage at a

   particular site could undoubtedly have been separately enforced.

         The third requirement is also satisfied. There is no reason to hold a

   determination of coverage for property damage at Sunnyside Yards in abeyance

   while coverage for other damages and at other sites is litigated. If Amtrak is

   entitled to coverage for Sunnyside Yards, it is entitled to it regardless of what

   happens later in the litigation. And, as previously explained, waiting until the end

   of the case to enter judgment runs the risk of multiple retrials. In the Court’s

   judgment, those factors warrant a prompt resolution of stage one. See L.B. Foster

   Co. v. America Piles, Inc., 138 F.3d 81, 86 (2d Cir. 1998) (“The determination of

   whether there is no just reason to delay entry of a final judgment is a matter

   committed to the sound discretion of the district court.”).

         Unfortunately, the second requirement for certification is not satisfied

   because the parties’ respective rights and liabilities with respect to property

   damages at Sunnyside Yards cannot yet be finally determined. Although this

   memorandum and order resolves two outstanding issues, others remain. As noted,

   the parties disagree as to the treatment of multi-year policies. In addition, the LMI

   allude to unresolved issues which might further reduce their liability, including the

   number of occurrences causing the damage, the applicability of the policies’

   various pollution exclusions and possible collateral-source payments to Amtrak.
                                             14
Case 1:14-cv-04717-FB-RLM Document 853 Filed 06/01/18 Page 15 of 15 PageID #: 60604




         Therefore, the parties shall, by June 15, 2018, submit a joint letter outlining

   all issues—including the four mentioned in this memorandum and order—which

   would need to be resolved for the Court to enter a partial final judgment bringing

   stage one to a conclusion. The letter shall, with respect to each issue identified, set

   forth the parties’ positions as to whether there are any disputed issues of fact

   requiring an evidentiary hearing. Finally, the letter should propose a schedule and

   page limits for a single round of briefing on the issues identified.

         SO ORDERED.


                                           /S/ Frederic Block____________
                                           Frederic Block
                                           Senior United States District Judge
   Brooklyn, New York
   June 1, 2018




                                             15
